         Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 1 of 18




    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    ----------------------------------------X
    GENE CODES FORENSICS, INC.,

                            Plaintiff,
                                                       MEMORANDUM AND ORDER
              - against -

    THE CITY OF NEW YORK,                               10 Civ. 1641 (NRB)

                         Defendant.
    ----------------------------------------X
    NAOMI REICE BUCHWALD
    UNITED STATES DISTRICT JUDGE

        Plaintiff    Gene    Codes   Forensics,       Inc.    (“Gene     Codes”)

initiated this diversity action against the City of New York

(the     “City”),    asserting   claims      for,   inter    alia,   breach   of

contract.      The   City   counterclaimed      for   breach    of     contract,

asserting that the parties’ agreement entitled it to royalty-

free, perpetual updates of Gene Codes’ software.1 In a June 24,

2011 opinion, we dismissed Gene Codes’ claims against the City

in their entirety. See Gene Codes Forensics, Inc. v. City of New

York, 812 F. Supp. 2d 295 (S.D.N.Y. 2011). Presently before us

is Gene Codes’ motion to dismiss or, in the alternative, for

summary judgment on the City’s counterclaim against it.




1
  The City initially brought additional counterclaims for unjust enrichment
and breach of release and covenant not to sue but abandoned them in an
amended counterclaim filed during briefing on this motion. We recognize that
the amended counterclaim was not filed within the 21-day period provided by
Federal Rule of Civil Procedure 15(a)(1)(B) and that the City did not request
leave to file the amendment. We nevertheless use our discretion to accept the
Amended Counterclaim and treat Gene Codes’ motion as applicable to it.


                                         1
       Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 2 of 18



       For the reasons set forth herein, Gene Codes’ motion is

granted.

                                    BACKGROUND2

       After the attack on the World Trade Center on September 11,

2001, the Office of Chief Medical Examiner (“OCME”), a City

agency, began searching for a means by which to identify the

remains of the victims. On or about September 29, 2001, Gene

Codes approached OCME with an offer to provide its services. The

City   had   been    using    one    of     Gene    Codes’   programs   known   as

“Sequencher” to match nuclear DNA from crime scene remains to

nuclear DNA exemplars from family members in order to establish

identity, and Gene Codes proposed that the program could be

modified to work with mitochondrial DNA and new software --

referred to as “middleware” -- developed to work in connection

with    various     other    technologies.         This    middleware   --   which

eventually came to be known as the “Mass Fatality Identification

System,” or “M-FISys” -- compares DNA data profiles collected

from different sources in order to identify remains. It thus

requires     a   database    to     store       relevant   DNA   profiles,   which

database needs to be updated as new remains are discovered or

comparators identified.




2
  These facts are derived from Defendant’s Amended Counterclaim and the
documents attached to it or otherwise incorporated by reference therein. See
Rothman v. Gregor, 220 F.3d 81, 88 (2d Cir. 2000).


                                            2
        Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 3 of 18



        On or about March 1, 2002, Gene Codes and OCME entered into

an   agreement    (Def.’s       Am.   Counterclaim,       Ex.    A    (the    “License

Agreement”)) that provides, in part, for further use of the

Sequencher program. That agreement gives OCME a license to use

Sequencher “for the term of the contract,”3 while Gene Codes

retained proprietary rights in the program. (License Agreement

¶ V(A).) It expands on the grant of the license by providing

that OCME is “entitl[ed] . . . to use the existing ‘Sequencher’

program and any modifications of Sequencher as necessary for its

purposes during the term of this contract.” (Id. ¶ VII(B).) OCME

was, however, required to resume paying licensing fees for use

of Sequencher “[a]t the termination of the agreement.” (Id.)

        OCME’s   use    of      Sequencher     notwithstanding,         the     agency

required     “adequate       software     to   allow      accurate      comparisons

between DNA profiles and family exemplars” on a large scale,

which    software      “does    not   exist    and   must   be       created.”    (Id.

¶ II(C)(3)(b).) Therefore, Gene Codes was obligated to “build

middleware . . . between existing OCME software and Sequencher.”

(Id.    ¶   V(B).)     The     parties’   rights     in   that       middleware    are

governed by the following paragraph:

        In the course of performing the services under this
        agreement, [Gene Codes] shall create source code for

3
  The License Agreement initially spanned a term of three years, applying
retroactively to September 12, 2001 and terminating on September 11, 2004.
(License Agreement ¶ IV(B).) In April of 2006, however, the term of the
contract was extended to September 30, 2004 in order “to provide for a
continuation of services.” (Id., Second Amendment 1.)


                                          3
        Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 4 of 18



        middleware which will link the various databases
        mentioned in this Paragraph VII, may create entirely
        new   software   and   databases,   and   may   create
        modifications of its proprietary product “Sequencher.”
        All such middleware, new software, and modifications
        of Sequencher shall be the exclusive intellectual
        property of [Gene Codes], although [Gene Codes] shall
        grant to the OCME a non-exclusive, royalty free,
        perpetual license to use the middleware and software
        so created for non-commercial purposes. The extent of
        the OCME’s rights to use modifications of the
        proprietary program[] “Sequencher” is described in
        Subparagraph B.

(Id. ¶ VII(D).)

        The   License     Agreement         also   recited    Gene       Codes’

representation that “all source code and related documentation

for the software and middleware which is the subject of this

agreement is under escrow deposit . . . or shall be so deposited

as new software and middleware is created.” (Id. ¶ XVIII(A).) In

the event that Gene Codes became insolvent, ceased to exist, or

failed to perform its obligations under the License Agreement,

the escrow agent was “to provide the City with a copy of the

source code and commentary for the installed release level of

the product utilized by the City.” (Id. ¶ XVIII(A)(5).) Gene

Codes    certified    that   it   had   “deposited    and    hereafter    will

maintain[] a current copy of all source code related to the

software and middleware, including current commentary, with the

escrow agent,” and it further agreed “to adhere to obligations

set forth in the agreement between the escrow agent and [Gene

Codes].” (Id. ¶ XVIII(B).)


                                        4
     Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 5 of 18



     That agreement (Def.’s Am. Counterclaim, Ex. B (the “Escrow

Agreement”)), entered into on July 2, 2002, recites that Gene

Codes had “agreed to deposit in escrow a copy of the source code

form of the computer program . . . included in the Software

System     covered      by     the    License       Agreement,          as    well     as     any

corrections       or    enhancements         to     such    source           code.”    (Escrow

Agreement 1.) Specifically, Gene Codes agreed “to deposit with

Escrow Agent, at such times as they are issued, a copy of all

revisions    to    the       Source   Code    or    Commentary          encompassing          all

corrections or enhancements made to the Software by [Gene Codes]

pursuant    to    the       License    Agreement.”         (Id.    ¶     1.)     The    Escrow

Agreement    is    to       renew    perpetually      until       the    source        code    is

delivered to OCME. (Id. ¶ 2.)

     Gene Codes delivered the first operating version of M-FISys

to OCME in December 2001. Subsequently, OCME supplied feedback

to Gene Codes and specified certain features it wanted included

in future iterations of the software, and Gene Codes provided

more than seventy M-FISys upgrades and revisions to OCME. None

of these versions of M-FISys contained a user function that

would have enabled OCME personnel to create new databases or

load DNA profiles into an existing database. Rather, Gene Codes

itself   created        a    database    in       which    to   store         the     DNA   data

profiles related to the World Trade Center victims and loaded

new profiles into that database for OCME. After the expiration


                                              5
        Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 6 of 18



of the contract term, Gene Codes added a function to M-FISys

that enabled users to add DNA profiles to databases without

assistance from Gene Codes.

        Gene Codes released version 7.11 of the software on or

about    September   9,     2004     and   provided   it     to   OCME.     After   the

expiration     of    the        contract   term,    the      parties      engaged    in

discussions     concerning          a   new      agreement     to    make     further

improvements to M-FISys desired by OCME, but no such agreement

was ever completed. Gene Codes nevertheless continued to develop

and release new versions of M-FISys, but OCME has not received

any of these releases; rather, Gene Codes has marketed them to

other customers. Gene Codes deposited updated source code in

escrow in 2005 and 2006, but it has since stopped depositing

source code revisions.

        On March 1, 2010, Gene Codes filed suit against the City

alleging, inter alia, that the City had breached the License

Agreement by inappropriately dispersing confidential information

obtained pursuant to that agreement. The City counterclaimed on

April 26, 2010, asserting that Gene Codes had itself breached

the License and Escrow Agreements. On June 24, 2011, this Court

granted summary judgment on Gene Codes’ claims in favor of the

City.    Thereafter,       on    October   19,    2011,    Gene     Codes   moved    to

dismiss the counterclaims against it. On November 28, 2011, the

City filed its opposition to the motion as well as an amended


                                           6
       Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 7 of 18



counterclaim, which abandons many of the claims in the original

counterclaim and seeks only for Gene Codes (1) to supply the

City with all upgrades to M-FISys since the expiration of the

term of the License Agreement and on into perpetuity, and (2) to

deposit     the       M-FISys   source    code    for    each    such   upgrade   into

escrow.

      For    the      reasons    below,    we    grant    Gene    Codes’    motion   to

dismiss the counterclaim.

                                       DISCUSSION

I.    Legal Standards

      When deciding a motion to dismiss for failure to state a

claim pursuant to Rule 12 (b) (6) of the Federal Rules of Civil

Procedure,        a    court    must     accept    as    true     all   well-pleaded

allegations and draw all reasonable inferences in a non-movant’s

favor. See Kassner v. 2nd Ave. Delicatessen, Inc., 496 F.3d 229,

237 (2d Cir. 2007). Mere “conclusions of law or unwarranted

deductions of fact,” however, need not be accepted as true.

First Nationwide Bank v. Gelt Funding Corp., 27 F.3d 763, 771

(2d Cir. 1994) (internal quotation marks omitted). At this stage

in a breach of contract action, if the allegations “are flatly

contradicted by documentary evidence, they are not presumed to

be   true,   or        even   accorded    favorable      inference.”       Taussig   v.

Clipper Grp., L.P., 787 N.Y.S.2d 10, 11 (1st Dep’t 2004), quoted

in Manhattan Motorcars, Inc. v. Automobili Lamborghini, S.p.A.,


                                            7
       Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 8 of 18



244 F.R.D. 204, 213 (S.D.N.Y. 2007). Under these standards, a

pleading must include “enough facts to state a claim for relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007).

II.    Whether Gene Codes Has Breached the Agreements

       There is no dispute that Gene Codes and the City entered

into a valid contract and that the City paid Gene Codes what it

was obligated to under the License Agreement. The controversy

hinges on whether Gene Codes has met its own obligations to the

City, i.e., whether the License Agreement required Gene Codes to

provide     the     City    with    updates   to   M-FISys     even    after    the

expiration of the contract term.4

       A.       Rules of Contract Interpretation

       If   a    contract    is    unambiguous,    its   interpretation        is   a

question of law to be addressed by the Court. See Provident Loan

Soc’y of N.Y. v. 190 E. 72nd St. Corp., 911 N.Y.S.2d 308, 309

(1st    Dep’t      2010).    A     contract   is   ambiguous    only    if     “the

provisions in controversy are reasonably or fairly susceptible

of different interpretations or may have two or more different

meanings.” Goldman Sachs Grp., Inc. v. Almah LLC, 924 N.Y.S.2d

4
  Gene Codes argues that because the License Agreement provides that payment
by OCME to Gene Codes “shall be made only upon certification by [OCME] that
the work represented by the invoice has been satisfactorily completed in
accordance with the terms and conditions of the agreement,” (License
Agreement ¶ XI), the fact that Gene Codes was paid by OCME establishes that
Gene Codes has fulfilled its obligations. The City, however, is arguing that
Gene Codes owes it a service in perpetuity for which no payment is required.
By definition, no invoice would need to be generated.


                                          8
        Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 9 of 18



87, 90 (1st Dep’t 2011) (internal quotation marks omitted); see

also World Trade Ctr. Props., L.L.C. v. Hartford Fire Ins. Co.,

345 F.3d 154, 184 (2d Cir. 2003) (“[A]mbiguity exists where a

contract term could suggest more than one meaning when viewed

objectively by a reasonably intelligent person who has examined

the    context     of   the    entire       integrated    agreement      and   who   is

cognizant of the customs, practices, usages and terminology as

generally    understood        in     the    particular    trade    or     business.”

(internal quotation marks omitted)).

       In determining the meaning of a contract, we should “look

to all corners of the document rather than view sentences or

clauses in isolation,”5 Int’l Klafter Co. v. Cont’l Cas. Co., 869

F.2d 96, 99 (2d Cir. 1989) (internal quotation marks omitted);

see also Kass v. Kass, 91 N.Y.2d 554, 566 (1998), and “accord

that language its plain meaning giving due consideration to the

surrounding circumstances and apparent purpose which the parties

sought to accomplish,” Palmieri v. Allstate Ins. Co., 445 F.3d

179,   187   (2d    Cir.      2006)   (internal     quotation      marks   omitted);

W.W.W. Assocs., Inc. v. Giancontieri, 77 N.Y.2d 157, 162 (1990)

(“[W]hen parties set down their agreement in a clear, complete

document, their writing should as a rule be enforced to its

5
  In this context, the License and Escrow Agreements should be treated as a
unified document. See Commander Oil Corp. v. Advance Food Serv. Equip., 991
F.2d 49, 52-53 (2d Cir. 1993) (holding that, even if documents are not
executed simultaneously, so long as they relate to the same transaction and
nothing indicates an intention to the contrary, the documents should be
interpreted together).


                                             9
        Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 10 of 18



terms.”). In other words, our “primary objective is to give

effect to the intent of the parties as revealed by the language

they chose to use.” Bolt Elec., Inc. v. City of New York, 223

F.3d 146, 150 (2d Cir. 2000); see also Goldman Sachs Grp., 924

N.Y.S.2d at 90 (requiring “a practical interpretation [of] the

language       employed,”       paying     heed    to    “the     parties’        reasonable

expectations” (internal quotation marks omitted)).

        B.     Interpretation of the Agreements

               1.      The Parties’ Interpretations

        Gene   Codes     contends      that    the      License      Agreement        provides

only    that    OCME     is     entitled      to   receive      versions         of    M-FISys

created during the term of the contract, though it may continue

to     use     those     versions        without     end.       In       support      of      its

interpretation, Gene Codes points to the language in the License

Agreement surrounding the grant of the “perpetual license.” In

particular, Gene Codes notes that that paragraph refers only to

software created “[i]n the course of performing the services

under    this       Agreement.”     (License       Agreement         ¶    VII(D).)       It     is

undisputed that, by its terms, the License Agreement expired in

2004,    and    accordingly,        Gene    Codes       contends,         the    grant     of    a

perpetual      license     to    use     “such     middleware”           and    “software       so

created” must be a grant to use the versions of M-FISys created

in September 2004 or earlier, not later versions.




                                              10
        Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 11 of 18



        The City argues that Gene Codes ignores relevant language

in   the   License     and   the   Escrow    Agreements.   The   City   refers

specifically to wording that requires Gene Codes to deposit in

escrow “all updates” and “all revisions” of the source code (id.

¶ XVIII(A)(2), (3); Escrow Agreement ¶ 1); because this language

is not limited to middleware created during the three-year term,

the City Contends, Gene Codes’ limited reading of the perpetual

license provision is inappropriate. The City also suggests that

Gene Codes’ obligation to “maintain[] a current copy of all

source code related to the software and middleware, including

current commentary,” (License Agreement ¶ XVIII(B)), requires it

to keep the source code up to date even after the expiry of the

License Agreement.6

             2.    The Court’s Reading

        Simply because the parties offer differing constructions of

the License Agreement does not mean that it is ambiguous. See

Law Debenture Trust Co. of N.Y. v. Maverick Tube Corp., 595 F.3d

458, 467 (2d Cir. 2010); Mount Vernon Fire Ins. Co. v. Creative

Hous.    Ltd.,    88   N.Y.2d   347,   352   (1996).   Indeed,   read   in   its


6
  The parties essentially agree that the escrow provision of the License
Agreement -- that, upon one of the specified conditions, the City is to be
provided with “a copy of the source code and commentary for the installed
release level of the product utilized by the City” (License Agreement
¶ XVIII(A)(5)) -- requires that the City be provided with the source code for
the latest version of M-FISys to which it is entitled under the rest of the
License Agreement. Thus, if Gene Codes’ interpretation is the correct one,
the source code for version 7.11 must be held in escrow; on the other hand,
if the City is correct, Gene Codes must continually update the source code to
the latest version.


                                        11
      Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 12 of 18



entirety,    even   in   connection   with   the   Escrow    Agreement,   the

License Agreement evinces a clear intent only that the City be

permitted to use in perpetuity the versions of M-FISys provided

to it during the contract’s term, not that the City be given any

and all versions of M-FISys created after the expiration of the

License Agreement at no cost.

     A plain reading of the paragraph that grants OCME “a non-

exclusive,     royalty     free,   perpetual       license    to   use    the

middleware” indicates that only software created during the term

of the contract was contemplated as part of the grant. (License

Agreement ¶ VII(D).) That paragraph begins by noting that Gene

Codes will create middleware “[i]n the course of performing the

services under this agreement.” (Id.) The next sentence, the

operative one, indicates that “[a]ll such middleware” -- i.e.,

that which is created by Gene Codes pursuant to the agreement --

will be Gene Codes’ intellectual property but available for use

by OCME in perpetuity. (Id.) Thus, it is only if the License

Agreement obligates Gene Codes to continue creating versions of

M-FISys after it expires that OCME would have any right to those

later versions.7


7
  We note that this interpretation is consonant with New York case law, which
has found perpetual obligations only when contract language is clear. See,
e.g., Chapman v. N.Y. State Div. for Youth, 546 F.3d 230, 237 (2d Cir. 2008)
(“[U]nder New York law, . . . [i]n the absence of a clear provision, courts
are reluctant to declare a perpetual license as a matter of law.” (internal
quotation marks, citation, and alteration omitted)); Compania Embotelladora
del Pacifico, S.A. v. Pepsi Cola Co., 607 F. Supp. 2d 600, 603 (S.D.N.Y.


                                      12
      Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 13 of 18



     The section of the License Agreement entitled “Obligations

of the Vendor” does not refer to any obligations that temporally

extend beyond the term provided in the contract. (Id. ¶ V.) Nor

does any other provision. Perhaps recognizing this difficulty,

the City contends that the fundamental importance to M-FISys of

a feature that enables OCME to create new databases and directly

upload DNA profiles creates an implicit obligation on Gene Codes

to ensure that the City is provided a version of the middleware

with such a function.

     We disagree that the lack of such a feature in the City’s

version of M-FISys “makes the perpetual license granted to OCME

meaningless and defeats the purpose of the contract,” and that

the program is “worthless” without it. (Def.’s Mem. of Law in

Opp’n to Pl.’s Mot. to Dismiss Counterclaims or, Alternatively,

for Summ. J. 17-18.) The versions of M-FISys that OCME used

throughout the duration of the contract term did not have that

feature, yet they were certainly still of value to the agency.

That value may have been attributable in part to Gene Codes’

provision of an additional service by creating databases and

uploading    DNA   profiles     for    OCME.   Nonetheless,     after    the


2009) (“[I]f the parties to a contract intend for it to be perpetual, they
must expressly say so.” (citing cases)). Accordingly, even though the License
Agreement does grant some perpetual rights, it should not be construed to
extend those rights to property not clearly contemplated by the license. Cf.
Microsoft Corp. v. AT&T Corp., 550 U.S. 437, 455-56 (2007) (holding that the
presumption against extraterritorial application of a statute remains
instructive to inform the extent of that application when a statute
explicitly applies extraterritorially).


                                      13
       Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 14 of 18



expiration of the contract term, the City could continue to pay

Gene Codes, or potentially even another provider, to perform

that   service,    so   M-FISys      would    continue      to   be   useful.   The

perpetual license has value insofar as the City is not required

to pay Gene Codes licensing fees for the program’s use in such a

scenario,     as   is   the   case    if     it    wishes   to   continue   using

Sequencher. (License Agreement ¶ VII(B).)

       More   importantly,     however,       we     are    empowered    only    to

articulate the obligations actually contained within the License

Agreement, not “to ‘supply a specific obligation the parties

themselves did not spell out.’” Manhattan Motorcars, 244 F.R.D.

at 213 (quoting Tonking v. Port Auth. of N.Y. & N.J., 3 N.Y.3d

486, 490 (2004)). Had the existence of the desired feature been

of paramount importance, it would have been the subject of a

term of the License Agreement.8 It was not, and we cannot now

imply it.

       Gene Codes was thus not obligated to continue upgrading M-

FISys after the License Agreement expired, and it therefore had

no obligation to provide the City with use of any versions of M-

FISys it later created.9 The language pertaining to the escrow


8
  The License Agreement expressly provides nine different features that the
software developed by Gene Codes must have. (License Agreement ¶ V(B)(4)(a)-
(i).) That list does not include the ability for OCME employees to create
databases and import DNA profiles.
9
  This conclusion is supported by industry practice. See Software AG, Inc. v.
Consist Software Solutions, Inc., No. 08 Civ. 389, 2008 U.S. Dist. LEXIS
19347, at *20 (S.D.N.Y. Feb. 21, 2008) (“The concept of a ‘perpetual’


                                       14
        Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 15 of 18



does    not    change    this     analysis.       The      escrow    provision   in    the

License Agreement continues referring only to “all source code

and related documentation for the software and middleware which

is     the     subject      of     this    agreement.”            (License    Agreement

¶ XVIII(A).) The fact that such material must be deposited “as

new software and middleware is created” does not imply that the

obligation       continues       beyond    the       term    of     the   contract;    the

middleware that is contemplated in that phrase is still the

middleware “which is the subject of this agreement.” (Id.) The

subsequent       paragraph,       which    provides          that     Gene   Codes     has

“certifie[d] that it has deposited and hereafter will maintain[]

a current copy of all source code related to the software and

middleware, including current commentary,” (id. ¶ XVIII(B)) --

although it does not specifically reiterate that the middleware

“is the subject of this agreement” -- should be read in the same

way. The only software and middleware that has been referenced

is   that      which   is   the    subject      of    the    License      Agreement;    to

suddenly pivot and read the terms as referring to middleware

which     is     not    the      subject     of      the     License      Agreement    is

indefensible and would render the limitation in the previous

paragraph purposeless. Cf. Cragg v. Allstate Indem. Corp., 17



maintenance agreement is unknown in the computer software industry . . . .”);
cf. World Trade Ctr. Props., 345 F.3d at 184 (finding relevant to the
interpretation of a contract “the customs, practices, usages and terminology
as generally understood in the particular trade or business”).


                                           15
      Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 16 of 18



N.Y.3d 118, 122 (2011) (noting that an interpretation should not

make a portion of a provision meaningless).

      The language in the Escrow Agreement must be read in a

similar fashion.10 The third “Whereas” clause makes clear that

the Escrow Agreement refers only to “the source code form of the

computer     program          (the    ‘Software’)       included    in   the     Software

System      covered      by     the    License        Agreement,    as   well    as       any

corrections        or    enhancements       to      such   source    code.”11    (Escrow

Agreement at 1 (emphasis added).) And the substantive provision

of the agreement obligates Gene Codes only to deposit in escrow

“a   copy    of    all       revisions    to    the     Source   Code    or    Commentary

encompassing           all    corrections        or    enhancements      made    to       the

Software by [Gene Codes] pursuant to the License Agreement.”

(Escrow Agreement ¶ 1 (emphasis added).) Once again, updates

Gene Codes makes to M-FISys but is not obligated to make under

the License Agreement are not covered.

      The    documents          are    consistent       and   unambiguous       in    their

expression        of    the    parties’    intentions.        Reading     them       as   one

integrated instrument, it is evident that Gene Codes had no

10
  We note that, even were the agreements in conflict (which we do not believe
they are), the License Agreement indicates that the Escrow Agreement
“provides materially the same terms and conditions” as those contained in the
License Agreement, (License Agreement ¶ XVIII(A)), and that, to the extent
there is “a conflict between the incorporated attachments and this contiguous
document, this contiguous document shall control,” (id. ¶ XXVI(J)).
11
   The City’s emphasis on “any corrections or enhancements to such source
code” is simply distorting. The language neither purports to create a
substantive obligation nor conflicts with our prior analysis when read in
full context.


                                               16
       Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 17 of 18



obligation      to    update    M-FISys      after   the    term   of   the    License

Agreement. Gene Codes’ obligation was limited to the delivery to

the    City     of    a   version     of     the     middleware    that       met    the

requirements in the License Agreement. The License and Escrow

Agreements further obligate Gene Codes to maintain in escrow a

copy   of     the    source    code   and    relevant      documentation      for    the

version of M-FISys contemplated by the License Agreement until

that material is delivered to the City. The City, under the

License Agreement, has the right to continue using that version

of M-FISys, without paying licensing fees, in perpetuity. It

does not, however, have the right to further updates for which

it has not paid.12

       The    City    does    not   allege    that    it   was   supplied     with    an

inadequate version of M-FISys, nor does it allege that Gene

Codes has failed to keep in escrow the source code that is

mandated by the agreements. The counterclaim thus does not state

a claim for which the City is entitled to relief. Accordingly,

it is dismissed.

12
   Although not necessary to our decision, we note that the City’s actions
counsel in favor of this conclusion. The parties participated in negotiations
concerning further updates to M-FISys after the License Agreement terminated,
but they were unable to come to amenable terms on “the scope of work or price
for such an agreement.” (Def.’s Am. Counterclaim ¶ 31.) Those negotiations,
coupled with the City’s failure to bring these claims until more than five
years after the end of the term of the License Agreement, and then only after
Gene Codes brought suit first for breach of contract, strongly suggest that
the parties had been operating under the belief that the License Agreement
did not provide the City with a perpetual right to M-FISys updates free of
licensing fees. Cf. Goldman Sachs Grp., 924 N.Y.S.2d at 90 (noting the
importance   to   contract   interpretation  of    “the parties’   reasonable
expectations” (internal quotation marks omitted)).


                                            17
     Case 1:10-cv-01641-NRB Document 54 Filed 04/26/12 Page 18 of 18




                                CONCLUSION

     For the     foregoing   reasons,    the motion   (docket    no.   45)   is

     ed.




                                                      /// ~-/
Dated:     New York, New York
           April 26, 2012




                                          L
                                                ....,~
                                            ~.
                                                  (
                                                           /.~~.
                                                                                  /
                                          NAOMI REIC BUCHWALD
                                          UNITED STATES DISTRICT JUDGE



Copies of the           ng Order have been mailed on            s date to
the foIl   ng:

Attorneys for Plaintiff
Laurence A.     , Esq.
Bracewell & Giuliani LLP
1251 Avenue of the Americas
New York, NY 10020-1104

J. Michael Huget r Esq.
Honigman Miller Schwartz and Cohen LLP
130 S. First Streetr 4th Floor
Ann Arbor r MI 48104

Attorney for Defendant
Gerald E. Singleton r Esq.
Law        ment
City of New York
100 Church Street
New York r NY 10007




                                    18
